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UN|TED STATES OF AMER|CA
P|aintiff, Cr. No. 0 5 -1 0 0 2 3 - T

V.

MATI'HEW PAUL SWA|N|,
Defendant.

 

APPL|CAT|ON, ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

The United States Attorney’s Office applies to the Court for a Writ to have MATTHEW
PAUL SWA|N|, Ca|ifornia Department of Correotions inmate #V76127, now being detained in the
So|ano State Prison, Vacavi||e, Caiifornia, appear before the Honorab|e S. Thomas Anderson on
i\/ionday, August 29, 2005, at 2:00 p.m. for initial appearance in this case and for such other
appearances as this Court may direct.

¢WL
Respectfu||y submitted this z day of August 2005.

   

 

  
 

JAMES vv_ PoWELLV
Assistant U. S. Attorney

 

ORDER

 

Upon consideration of the foregoing Appiication,
David Jo|ley, U.S. Marsha||, Western District of Tennessee, and Warden, So|ano State Prison:

YOU ARE HEREBY COMMANDED to have MATTHEW PAUL SWA|M appear before the
Honorab|e S. Thomas Anderson at the date and time aforementioned.

ENTEREDthis EZ"L! day or t/¢rv_to" 2005.

tit ita

Thts document entered on the docket et tn compliance 5 THOMAS ANDERSON
with note ss motor aztb} mch on 0 5 united states Magistrate Judge

rsrch COUR -WESTERN D"'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CR-10023 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

